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                                  UNITED STATES DISTRICT COURT
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                                          DISTRICT OF NEVADA
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10
      Camilla Kepler,                                        Case No. 2:20-cv-02033-JAD-BNW
11
                             Plaintiff,
12                                                           ORDER
            v.
13
      Social Security Administration Office of the
14    General Counsel,
15                           Defendant.
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17
            Plaintiff submitted initiating documents to this Court on November 4, 2020. (ECF No. 1.)
18
     Plaintiff did not pay the filing fee for this case or file an application to proceed in forma pauperis.
19
            If Plaintiff is unable to pay the filing fee in this case, Plaintiff must complete an
20
     application to proceed in forma pauperis under 28 U.S.C. § 1915(a)(1) and Local Special Rule
21
     (“LSR”) 1-1. The court will retain Plaintiff’s complaint (ECF No. 1-1) but will not file it until the
22
     matter of the payment of the filing fee is resolved.
23
            IT IS THEREFORE ORDERED that the Clerk of the Court must send Plaintiff the
24
     approved form application to proceed in forma pauperis, as well as the document titled
25
     “Information and Instructions for Filing an In Forma Pauperis Application.”
26
            IT IS FURTHER ORDERED that by December 4, 2020, Plaintiff must either: (1) file a
27
     complete application to proceed in forma pauperis in compliance with 28 U.S.C. § 1915(a)(1) and
28
     Case 2:20-cv-02033-JAD-BNW Document 3 Filed 11/06/20 Page 2 of 2




 1   LRS 1-1; or (2) pay the full $400 fee for a civil action, which includes the $350 filing fee and the

 2   $50 administrative fee. Plaintiff is advised that failure to comply with this order will result in a

 3   recommendation that this case be dismissed.

 4          DATED: November 6, 2020

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                                                            BRENDA WEKSLER
 6                                                          UNITED STATES MAGISTRATE JUDGE
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